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   8
                            UNITED STATES DISTRICT COURT
   9
                          CENTRAL DISTRICT OF CALIFORNIA
  10
  11 STEPHANIE CLIFFORD a.k.a.                 Case No. 2:18-CV-02217-SJO-FFM
  12 STORMY DANIELS a.k.a. PEGGY               DEFENDANT ESSENTIAL
       PETERSON, an individual,
  13                                           CONSULTANT, LLC’S
                                               NOTICE OF MOTION AND
  14               Plaintiff,
                                               MOTION TO COMPEL
  15                                           ARBITRATION
             v.
  16                                           Assigned for All Purposes to the
     DONALD J. TRUMP a.k.a. DAVID
  17 DENNISON, an individual,                  Hon. S. James Otero

  18 ESSENTIAL CONSULTANTS, LLC, a             Date:     April 30, 2018
     Delaware Limited Liability Company,       Time:     10:00 a.m.
  19 and DOES 1 through 10, inclusive,
                                               Location: 350 West 1st Street
  20                                                     Courtroom 10C, 10th Floor
                    Defendants.                          Los Angeles, CA 90012
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  22                                           Action Filed: March 6, 2018

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                  NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION
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   1        TO THE COURT, ALL PARTIES AND COUNSEL OF RECORD:
   2        PLEASE TAKE NOTICE that on April 30, 2018, at 10:00 a.m. or as soon
   3 thereafter as the matter may be heard in Courtroom 10C, located at the United States
   4 District Court, 350 West 1st Street, Los Angeles, California 90012, the Honorable S.
   5 James Otero presiding, Defendant Essential Consultants, LLC (“EC”) will move and
   6 hereby does move for an order compelling Plaintiff Stephanie Clifford a.k.a. Stormy
   7 Daniels a.k.a. Peggy Peterson (“Clifford” or “Plaintiff”) to arbitrate any and all
   8 disputes arising under the written Confidential Settlement Agreement and Mutual
   9 Release entered into by EC and Clifford on or about October 28, 2016 (the
  10 “Settlement Agreement”), including but not limited to the first cause of action pleaded
  11 in Plaintiff’s First Amended Complaint (“FAC”) in this action. Such arbitration
  12 should be ordered to occur in the currently pending arbitration between the parties
  13 with ADR Services, Inc. (“ADRS”) in Los Angeles, California, pursuant to the written
  14 agreements of the parties. EC will also move and hereby does move for an order
  15 staying the first cause of action in the FAC pending the outcome of the arbitration.
  16        This motion will be and is based on this Notice, the accompanying
  17 Memorandum of Points and Authorities, the accompanying Declarations of Michael
  18 D. Cohen and Brent H. Blakely (with exhibits), the anticipated reply papers, all other
  19 papers on file in this action, all materials that may be properly considered in
  20 connection with this motion, and oral argument at the hearing. This motion is made
  21 following the conference of counsel pursuant to L.R. 7-3, which took place on March
  22 21, 2018.
  23 Dated: April 2, 2018                  BLAKELY LAW GROUP
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  25                                       By: /s/ Brent H. Blakely
                                              BRENT H. BLAKELY
  26                                          Attorneys for Defendant ESSENTIAL
  27                                          CONSULTANTS, LLC
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                  NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION
